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                             UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA                        :
                                                 :
                                                 :
 v.                                              :       Case No.: 5:24-cr-97-TPB-PRL-1
                                                 :
                                                 :
 DANIEL BALL,                                    :
                                                 :
                   Defendant.                    :

      SUPPLEMENT TO DANIEL BALL’S MOTION FOR BOND AND OPPOSITION TO
              GOVERNMENT’S MOTION FOR PRETRIAL DETENTION

            Daniel Ball, by and through undersigned counsel, respectfully files this Supplement to his

 Motion for Bond and Opposition to the government’s Motion for Pretrial Detention.

      I.       LETTERS OF SUPPORT

            Attached as exhibits are letters of support from a number of Mr. Ball’s loved ones. See

 Exhibits A-L.

      II.      SAFETY AND HEALTH CONCERNS

            Mr. Ball has faced many difficult circumstances while detained pretrial in the federal

 system. It is our understanding that, when transported to FCI Petersburg, Mr. Ball was assaulted

 (unprompted) by two guards at the facility. We understand that the assault resulted in some of Mr.

 Ball’s teeth being broken. The injuries suffered at FCI Petersburg have resulted in ongoing pain,

 as he has not yet been able to be comprehensively treated.

            It is also our understanding that, on his way back to Florida, one or more guards at Orange

 County Jail injured Mr. Ball while placing handcuffs on him. No medical assessment was

 performed to see if treatment was needed despite counsel’s request. However, counsel was




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 informed that the Florida Department of Corrections is conducting an investigation of Mr. Ball’s

 treatment while at Orange County Jail.

         Moreover, it is our understanding that, despite medical professionals determining that Mr.

 Ball’s blood pressure is very high, Mr. Ball has been without his blood pressure medication since

 leaving the District of Columbia (except for one day that it was administered at Orange County

 Jail, only after counsel contacted the facility about this concern).

         Further, Mr. Ball had a dental crown fall out the other day. It is our understanding that the

 Marion County Jail does not perform fillings, which is what Mr. Ball would need for treatment of

 this specific issue.

         To put all of this simply, Mr. Ball has experienced significant trauma, distress, and

 aggravated health circumstances while recently incarcerated, even in relation to this specific case.


                                                        Respectfully submitted,

                                                          /s/ Amy C. Collins
                                                        Amy C. Collins
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                                                        Counsel for Daniel Ball

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 9th day of February 2025, I caused a true and correct

 copy of the foregoing Supplement to be delivered via CM/ECF to all parties.


                                                         /s/ Amy C. Collins
                                                        Amy C. Collins




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